                               EXHIBIT A




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                                INSURER ADOPTION AGREEMENT

The undersigned Insurer has read and understands the Mutual Made Whole Release attached hereto
as Exhibit A,1 and agrees to be bound by the terms thereof as to each Claimant that is the
undersigned Insurer’s (or its predecessor’s) insured that signs the Mutual Made Whole Release
upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: Starr Tech

Insurer Names: ACE American Insurance Company
               Starr Surplus Lines Insurance Company
               General Security Indemnity Company of Arizona


By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                                    INSURER ADOPTION AGREEMENT

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 undersigned Insurer's (or its predecessor's) insured that signs the Mutual Made Whole Release
 upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
 Fire Victim Trust by such Claimant following the Effective Date of the Debtors' Plan and the
 funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, "Insurer"
 as used in the Mutual Made Whole Release shall include (without limitation) the California
 Insurance Guarantee Association.




 Insurer

 Insurer Name: American International Group, Inc.2

 By:                14 -.94e- -     4     r

 Name:               ftLA      II

 Title:               At- 41'e ri' z-e




 'Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
 Release.
 2 This Insurer Adoption Agreement is being entered into on behalf of American International Group, Inc., and its
 subsidiaries, including, without limitation, the subsidiaries listed in Exhibit B.




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               Exhibit B: Subsidiaries of American International Group, Inc.



AIG Europe Limited

AIG Europe, S.A.

AIG Property Casualty Company

AIG Specialty Insurance Company

American Home Assurance Company

American International Group UK Limited

Commerce and Industry Insurance Company

Granite State Insurance Company

Illinois National Insurance Co.

Lexington Insurance Company

National Union Fire Insurance Company of Pittsburgh, Pa.

New Hampshire Insurance Company

The Insurance Company of the State of Pennsylvania




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                                INSURER ADOPTION AGREEMENT

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as Exhibit A,1 and agrees to be bound by the terms thereof as to each Claimant that is the
undersigned Insurer’s (or its predecessor’s) insured that signs the Mutual Made Whole Release
upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: Munich RE America

Insurer Names: American Alternative Insurance Company
               American Family Home Insurance Company
               The Princeton Excess & Surplus Lines Insurance


By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                                INSURER ADOPTION AGREEMENT

The undersigned Insurer has read and understands the Mutual Made Whole Release attached hereto
as Exhibit A,1 and agrees to be bound by the terms thereof as to each Claimant that is the
undersigned Insurer’s (or its predecessor’s) insured that signs the Mutual Made Whole Release
upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Creditor/Carrier Group Name: American Modern

Insurer Names: American Family Home Insurance Company; American Modern Home
               Insurance Company

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                               INSURER ADOPTION AGREEMENT

The undersigned Insurer has read and understands the Mutual Made Whole Release attached
hereto as Exhibit A, 1 and agrees to be bound by the terms thereof as to each Claimant that is the
undersigned Insurer’s (or its predecessor’s) insured that signs the Mutual Made Whole Release
upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt,
“Insurer” as used in the Mutual Made Whole Release shall include (without limitation) the
California Insurance Guarantee Association.




Insurer

Insurer Name: Amica Mutual Insurance Company

By:

Name:                 Bryce Wahl

Title:           Associate Claims Examiner




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                                        of 40
                               INSURER ADOPTION AGREEMENT

The undersigned Insurer has read and understands the Mutual Made Whole Release attached hereto
as Exhibit A,1 and agrees to be bound by the terms thereof as to each Claimant that is the
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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name: AmTrust North America and its underwriting carrier’s; Security National Insurance
Company, Technology Insurance Company, Inc. and Wesco Insurance Company

By:

Name:            Ronny Roundtree

Title:           Recovery Claims Director




1
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Release.



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                      Exhibit A: Mutual Made Whole Release




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Case: 19-30088   Doc# 8068-1   Filed: 06/22/20   Entered: 06/22/20 15:41:19   Page 13
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                               INSURER ADOPTION AGREEMENT

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Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
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as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer:


APOLLO CREDIT STRATEGIES MASTER FUND, LTD.,
as assignee of Allianz Global Risks US Insurance Company

By: Apollo ST Fund Management LLC, its investment manager

By:

Name: Joseph D. Glatt
Title: Vice President




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Release.



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                                INSURER ADOPTION AGREEMENT

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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name: Arch Specialty Insurance Company

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




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Release.



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Case: 19-30088   Doc# 8068-1   Filed: 06/22/20   Entered: 06/22/20 15:41:19   Page 17
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                               INSURER ADOPTION AGREEMENT

The undersigned Insurer has read and understands the Mutual Made Whole Release attached hereto
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Insurer

Insurer Name:

By:

Name:

Title:




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Release.



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                                  INSURER ADOPTION AGREEMENT

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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name:      Attestor Value Master Fund



By:
                   Christopher Guth
Name:

Title:             Authorised Attorney




1 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole

Release.



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                                INSURER ADOPTION AGREEMENT

The undersigned Insurer has read and understands the Mutual Made Whole Release attached hereto
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undersigned Insurer’s (or its predecessor’s) insured that signs the Mutual Made Whole Release
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Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: Axis Specialty

Insurer Names: Axis Specialty Europe SE
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               PN1700079

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                                            INSURER ADOPTION AGREEMENT

             The undersigned Insurer has read and understands the Mutual Made Whole Release attached hereto
             as Exhibit A,1 and agrees to be bound by the terms thereof as to each Claimant that is the
             undersigned Insurer’s (or its predecessor’s) insured that signs the Mutual Made Whole Release
             upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
             Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
             funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
             as used in the Mutual Made Whole Release shall include (without limitation) the California
             Insurance Guarantee Association.




             Insurer

             Insurer Name:        Barbican Managing Agency Limited for and on behalf of Syndicate 1955 at LLoyds


             By:
                                Sian Martin
             Name:
                                 Syndicate 1955 Claims Manager
             Title:




             1
              Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
             Release.



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                                           Exhibit A: Mutual Made Whole Release




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                                           INSURER ADOPTION AGREEMENT

            The undersigned Insurer has read and understands the Mutual Made Whole Release attached hereto
            as Exhibit A,1 and agrees to be bound by the terms thereof as to each Claimant that is the
            undersigned Insurer’s (or its predecessor’s) insured that signs the Mutual Made Whole Release
            upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
            Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
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            1
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            Release.



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            Insurers

            BG RESOLUTION PARTNERS I-A, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President



            BG RESOLUTION PARTNERS I-B, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President



            BG RESOLUTION PARTNERS II-A, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President



            BG RESOLUTION PARTNERS II-B, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President



                                                               -2-

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            BG RESOLUTION PARTNERS III-A, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President



            BG RESOLUTION PARTNERS III-B, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President



            BG RESOLUTION PARTNERS IV-A, L.L.C.

            By BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President



            BG RESOLUTION PARTNERS IV-B, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President




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            BG RESOLUTION PARTNERS V-A, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President



            BG RESOLUTION PARTNERS V-B, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President



            BG RESOLUTION PARTNERS VI, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President



            BG RESOLUTION PARTNERS VII, L.L.C.

            By BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President




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            BG INVESTMENT PARTNERS I-B, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President



            BG INVESTMENT PARTNERS II-A, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President



            BG INVESTMENT PARTNERS II-B, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President



            BG ACQUISITION PARTNERS I-A, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President




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            BG ACQUISITION PARTNERS I-B, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President



            BG SUBROGATION PARTNERS I-A, L.L.C.

            By: BRP Partners II, Inc., its Manager



            By: __________________________________
                   Name: Joshua A. S. Greenhill
                   Title: Vice President




                                                               -6-

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                                           Exhibit A: Mutual Made Whole Release




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                                INSURER ADOPTION AGREEMENT

The undersigned Insurer has read and understands the Mutual Made Whole Release attached hereto
as Exhibit A,1 and agrees to be bound by the terms thereof as to each Claimant that is the
undersigned Insurer’s (or its predecessor’s) insured that signs the Mutual Made Whole Release
upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: Beazley

Insurer Names: Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               PTAM1701507
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               B128415509W18
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               W1D52B160101
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               W1DC80180201

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                                INSURER ADOPTION AGREEMENT

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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: Berkshire Hathaway

Insurer Names: Berkshire Hathaway Specialty Insurance Company
               National Fire & Marine Insurance Company

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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Case: 19-30088   Doc# 8068-1   Filed: 06/22/20   Entered: 06/22/20 15:41:19   Page 35
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                             INSURER ADQIDQN AGREEMENT
  The undersigned Insurer has read and understands the Mutual Made Whole Release attached
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  funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt,
  "Insurer" as used in the Mutual Made Whole Release shall include (without limitation) the
  California Insurance Guarantee Association.




 Insurer


 Insurer Name:   GAt4 PDa..J IA f,,ct. pLAtJ Af:,~ tlA A-TcN
 By:

 Name:
           ~~ire ~ -l'-1A-1A-~
 Title:    VP- {¼.Jh M)


 -2-                                                                              WFG Draft 5113/20
                                                                           Privileged & Confidential
                            Exhibit A: Mutual Made Whole Release

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                               INSURER ADOPTION AGREEMENT

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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name: Canopius Managing Agents Ltd.


By:

Name:                    Jill Kumm

Title:                   On behalf of Canopius Managing Agents Ltd.




1
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Release.



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                 Precision Risk Management, Inc. on behalf of Century National Insurance




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                               INSURER ADOPTION AGREEMENT

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upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name: Chubb

By:

Name:             John Serio

Title:            AVP, Litigation Specialist, Subrogation, NA Claims




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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